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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR11-232-RSM

10          v.                                           DETENTION ORDER

11 ELIAS RIVERA-MAGANA,

12                                Defendant.

13          Defendant has been charged by grand jury indictment with Conspiracy to Distribute

14 Cocaine and Conspiracy to Export Cocaine. On September 22, 2011, the Court conducted a

15 detention hearing pursuant to Title 18 U.S.C. § 3142(f), and based upon the factual findings and

16 statement of reasons for detention hereafter set forth, finds that no condition or combination of

17 conditions which the defendant can meet will reasonably assure the appearance of the defendant

18 as required and the safety of any other person and the community.

19               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          Defendant is charged with drug trafficking offenses that carry a mandatory minimum

21 term of imprisonment of five years if convicted. The presumption of detention applies and

22 defendant has failed to overcome it. Defendant is a Mexican citizen. His parents, wife and two

23 young children live there. He has a foreign country to flee to and the incentive to flee. He is



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 1 highly mobile and has traveled up and down the west coast and into Canada according to the

 2 government’s proffer. He has not worked for months and has no ties to this district.

 3          It is therefore ORDERED:

 4          (1)    Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)    On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)    The clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16       DATED this 22nd day of September, 2011.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
